        Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 1 of 23



 1   [Counsel for Moving Defendants Listed on Signature Pages]
 2

 3

 4

 5

 6

 7

 8

 9

10                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION

12   IN RE CAPACITORS ANTITRUST                            Case Nos. 3:14-cv-03264-JD
     LITIGATION                                                      3:17-md-02801-JD
13
     All Direct Purchaser Actions,                         CERTAIN DEFENDANTS’ JOINT
14   Case No. 3:14-cv-03264-JD                             MOTION TO EXCLUDE TESTIMONY
15   All Indirect Purchaser Actions,                       OF DR. HAL J. SINGER
     Case No. 3:14-cv-03264-JD
16
     The AASI Beneficiaries’ Trust, by and Through         Date:     August 29, 2019
17   Kenneth A. Welt, Liquidating Trustee, v. AVX          Time:     10:00 a.m.
     Corp. et al., Case No. 3:17-cv-03472-JD               Judge:    Honorable James Donato
18                                                                  Courtroom 11—19th Floor
     Avnet, Inc., v. Hitachi Chemical Co., Ltd., et al.,
19   Case No. 3:17-cv-07046-JD                             REDACTED VERSION OF
20                                                         DOCUMENT SOUGHT TO BE SEALED
     Benchmark Electronics, Inc. et al. v. AVX Corp.
     et al., Case No. 3:17-cv-07047-JD
21
     Arrow Electronics, Inc. v. ELNA Co., Ltd. et al.,
22   Case No. 3:18-cv-02657-JD
23   Flextronics International USA, Inc.’s Individual
     Action, Case No. 3:14-cv-03264-JD
24

25

26

27

28


                 CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                  Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
         Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 2 of 23



 1                                NOTICE OF MOTION AND MOTION
 2          TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on August 29, 2019 at 10 a.m., or as soon thereafter as the

 4   matter may be heard, in Courtroom 11, 19th Floor, 450 Golden Gate Avenue, San Francisco,

 5   California, before the Honorable James Donato, the undersigned Defendants1 will and hereby do

 6   move the Court, under Rules 104(a) and 702 of the Federal Rules of Evidence, to exclude the

 7   proposed testimony of Dr. Hal J. Singer, expert for the Direct Purchaser Plaintiffs, because that

 8   testimony is unreliable and irrelevant as defined by those rules and the interpretation of them as

 9   specified by the Supreme Court in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).

10          This motion is based upon this Notice of Motion, the accompanying Memorandum of Points

11   and Authorities, the Declaration of Johan E. Tatoy and the exhibits attached thereto,2 the complete

12   files and records in this action, oral argument of counsel, authorities that may be presented at or

13   before the hearing, and such other and further matters as this Court may consider.

14

15

16

17

18

19

20

21

22

23

24

25
     1
       This motion is joined by: Nippon Chemi-Con Corporation; United Chemi-Con, Inc.; Panasonic
26   Corporation; Panasonic Corporation of North America; SANYO Electric Co., Ltd.; SANYO North
     America Corporation; AVX Corporation; Matsuo Electric Co., Ltd.; Holy Stone Enterprise Co., Ltd.;
27   Milestone Global Technology (D/B/A HolyStone International); Vishay Polytech Co., Ltd; Elna Co.,
     Ltd.; Elna America, Inc.; KEMET Corporation; and KEMET Electronics Corporation.
28   2
       “Ex. __” refers to the exhibits attached to the Declaration of Johan E. Tatoy, dated June 14, 2019.
                                                       i
                CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                 Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
           Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 3 of 23



 1                                                          TABLE OF CONTENTS
 2                                                                                                                                                    Page
 3   NOTICE OF MOTION AND MOTION ............................................................................................... i
 4   TABLE OF AUTHORITIES ............................................................................................................... iii
 5   ISSUE TO BE DECIDED ..................................................................................................................... i
 6   INTRODUCTION .................................................................................................................................1
 7   LEGAL STANDARD............................................................................................................................1
 8   BACKGROUND ...................................................................................................................................2
 9   ARGUMENT .........................................................................................................................................4
10   I.         Dr. Singer’s Testimony on “Qualitative” Evidence Is Improper and Should Be
                Excluded. ...................................................................................................................................5
11
           A.     Dr. Singer’s Evaluation of the Qualitative Evidence Is Not Based Upon Any
12                Reliable Scientific Methodology And Is Unhelpful to the Trier of Fact. ...............................5
13         B.     Dr. Singer’s Reliance on
                                          Does Not Comport With Any Accepted Scientific
14                Methodology, and Undermines His “Qualitative Analysis.”..................................................9
15   II.        Dr. Singer’s “Quantitative” Econometric Analyses Should be Excluded as Unreliable. ........12
16   CONCLUSION ....................................................................................................................................13
17

18

19

20

21

22

23

24

25

26

27

28

                                                                                ii
                     CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                      Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 4 of 23



 1                                                     TABLE OF AUTHORITIES
 2                                                                                                                                         Page(s)
 3                                                                      CASES
 4   AFMS LLC v. United Parcel Service Co.,
       No. 10-cv-5830, 2014 WL 12515335 (C.D. Cal. Feb. 5, 2014) .......................................................8
 5
     Aguilar v. Int’l Longshoremen’s Union Local No. 10,
 6      966 F.2d 443 (9th Cir. 1992) ...........................................................................................................7
 7   Am. Ad Mgmt., Inc. v. GTE Corp.,
        92 F.3d 781 (9th Cir. 1996) ...........................................................................................................10
 8
     In re Apollo Grp. Inc. Sec. Litig.,
 9       527 F. Supp. 2d 957 (D. Ariz. 2007) ...............................................................................................8
10   In re Capacitors Antitrust Litigation,
         No. 17-md-2801 (JD), 2018 WL 5980139 (N.D. Cal. Nov. 14, 2018) ............................................7
11
     CFM Commc’ns, LLC v. Mitts Telecasting Co.,
12     424 F. Supp. 2d 1229 (E.D. Cal. 2005)............................................................................................9
13   City of Tuscaloosa v. Harcros Chems.,
         158 F.3d 548 (11th Cir. 1998) .........................................................................................................8
14
     Daubert v. Merrell Dow Pharms., Inc.,
15      509 U.S. 579 (1993) ......................................................................................................................... i
16   Diviero v. Uniroyal Goodrich Tire Co.,
        114 F.3d 851 (9th Cir. 1997) ...........................................................................................................5
17
     Ellis v. Costco Wholesale Corp.,
18       657 F.3d 970 (9th Cir. 2011) ...........................................................................................................2
19   Harris v. City of Chicago,
        No. 14-cv-4391, 2017 WL 3193585 (N.D. Ill. July 27, 2017) ......................................................11
20
     Johns v. Bayer Corp.,
21      No. 09-cv-1935, 2013 WL 1498965 (S.D. Cal. Apr. 10, 2013) ......................................................8
22   Kamakahi v. Am. Soc’y for Reprod. Med.,
       305 F.R.D. 164 (N.D. Cal. 2015) .....................................................................................................2
23
     Kammerer v. Wyeth,
24     No. 8:04-cv-196, 2011 WL 5237757 (D. Neb. Nov. 1, 2011) .......................................................11
25   Lust ex rel. Lust v. Merrell Dow Pharm., Inc.,
        89 F.3d 594, 597 (9th Cir. 1996) ...................................................................................................10
26
     McClellan v. I-Flow Corp.,
27     710 F. Supp. 2d 1092 (D. Or. 2010) ................................................................................................5
28

                                                                            iii
                     CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                      Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 5 of 23



     Mid-State Fertilizer Co. v. Exch. Nat. Bank of Chicago,
 1      877 F.2d 1333 (7th Cir. 1989) .........................................................................................................6
 2   In re Mirena IUD Prods. Liab. Litig.,
         169 F. Supp. 3d 396 (S.D.N.Y. 2016)............................................................................................11
 3
     Nationwide Transp. Fin. v. Cass Info. Sys., Inc.,
 4      523 F.3d 1051 (9th Cir. 2008) .....................................................................................................6, 7
 5   Newkirk v. ConAgra Foods, Inc.,
        727 F. Supp. 2d 1006 (E.D. Wash. 2010), aff’d, 438 F. App’x 607 (9th Cir. 2011) .....................12
 6
     Ollier v. Sweetwater Union High Sch. Dist.,
 7       768 F.3d 843 (9th Cir. 2014) ...........................................................................................................2
 8   Open Text S.A. v. Box, Inc.,
        No. 13-cv-04910 (JD), 2015 WL 349197 (N.D. Cal. Jan. 23, 2015)...............................................2
 9
     Oracle Am., Inc. v. Hewlett Packard Enter. Co.,
10      No. 16-cv-01393 (JST), 2018 WL 6511146 (N.D. Cal. Dec. 11, 2019) ..........................................9
11   In re Rezulin Prods. Liab. Litig.,
         309 F. Supp. 2d 531 (S.D.N.Y. 2004)..............................................................................................8
12
     United States v. Sandoval-Mendoza,
13      472 F.3d 645 (9th Cir. 2006) ...........................................................................................................2
14   SourceOne Dental, Inc. v. Patterson Companies, Inc.,
        310 F. Supp. 3d 346 (E.D.N.Y. 2018) ...........................................................................................10
15
     U.S. Info. Sys., Inc. v. Int’l Bhd. of Elec. Workers Local Union No. 3,
16      313 F. Supp. 2d 213 (S.D.N.Y. 2004)..............................................................................................6
17   Walker v. Contra Costa Cty.,
        No. 03-cv-3723 (THE), 2006 WL 3371438 (N.D. Cal. Nov. 21, 2006) ......................................5, 6
18
                                                          OTHER AUTHORITIES
19
     Fed. R. Evid. 702 ......................................................................................................................... passim
20
     George J. Stigler
21      What Does an Economist Know, 33 J. Legal Educ. 311 (1983) ..................................................6, 7
22

23

24

25

26

27

28

                                                                            iv
                     CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                      Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
         Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 6 of 23



 1                                         ISSUE TO BE DECIDED

 2          Whether the Court should exclude the expert report of Dr. Hal J. Singer offered by Direct

 3   Purchaser Plaintiffs (“DPPs”) under Rules 104(a) and 702 of the Federal Rules of Evidence and

 4   Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), because his methodology is not reliable

 5   and is not an accepted scientific methodology, and because Dr. Singer is not qualified to offer his

 6   opinions, which are unreliable and not helpful to the trier of fact.

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                         i
                CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                 Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
         Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 7 of 23



 1                                            INTRODUCTION3

 2          Plaintiffs have put forth Dr. Hal J. Singer as one of their experts in their case against

 3   Defendants. Dr. Singer employs a “qualitative analysis” in which he

 4

 5

 6                                                                                               Dr. Singer’s

 7   approach is decidedly not academic and has no grounding in economics. It is, in short, “junk

 8   science” that will serve only to confuse the jury and to take from the factual determinations that are

 9   clearly in their province as the ultimate finders of fact. In order to perform his so-called “qualitative

10   analysis,” Dr. Singer does nothing more than

11

12                                                                                                        Dr.

13   Singer then concludes, on the basis of this “analysis” that

14                                                          Such inappropriate, unreliable, and unhelpful

15   testimony should be excluded.

16          Dr. Singer also adopts Dr. McClave’s econometric model, making only minor adjustments to

17   that model, none of which addresses the model’s fundamental flaws. Dr. Singer’s econometric

18   analysis should, therefore, be excluded for the reasons stated in Defendants’ Motion to Exclude the

19   Proposed Expert Testimony of Dr. James T. McClave.

20                                           LEGAL STANDARD

21          Expert testimony can be admitted only if it satisfies the conditions enumerated in Federal

22   Rule of Evidence 702, namely: (a) the expert’s scientific, technical, or other specialized knowledge

23   will help the trier of fact to understand the evidence or to determine a fact in issue; (b) the testimony

24   is based on sufficient facts or data; (c) the testimony is the product of reliable principles and

25   methods; and (d) the expert has reliably applied the principles and methods to the facts of the case.

26   Fed. R. Evid. 702. The Ninth Circuit has interpreted this rule to require expert testimony to be both

27
     3
28     The use of terms herein that are defined in Defendants’ Motion for Summary Judgment filed
     concurrently with this motion refer to the definitions set forth in that motion.
                                                        1
                CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                 Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 8 of 23



 1   reliable and relevant to be admissible. See, e.g., Ollier v. Sweetwater Union High Sch. Dist., 768

 2   F.3d 843, 860 (9th Cir. 2014); Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982 (9th Cir. 2011).

 3            Expert testimony, however, is reliable only if “the knowledge underlying it ‘has a reliable

 4   basis in the knowledge and experience of [the relevant] discipline.’” United States v. Sandoval-

 5   Mendoza, 472 F.3d 645, 654 (9th Cir. 2006) (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137,

 6   149 (1999); Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592 (1993) (“Daubert I”)). “[A]

 7   critical prerequisite is that the underlying methodology be sound. When it is not, exclusion of the

 8   expert’s opinion is proper.” Open Text S.A. v. Box, Inc., No. 13-cv-04910 (JD), 2015 WL 349197, at

 9   *2 (N.D. Cal. Jan. 23, 2015) (citations omitted); see also Kamakahi v. Am. Soc’y for Reprod. Med.,

10   305 F.R.D. 164, 176 (N.D. Cal. 2015) (observing that “[e]vidence should be excluded as unreliable

11   if it ‘suffer[s] from serious methodological flaws,’” and granting motion to exclude Dr. Singer’s

12   testimony as unreliable (quoting Obrey v. Johnson, 400 F.3d 691, 696 (9th Cir. 2005))).

13            Finally, an expert must be “qualified as an expert by knowledge, skill, experience, training,

14   or education.” Fed. R. Evid. 702. Here, Dr. Singer employs a methodology that is beyond the scope

15   of the expertise of an economist.

16                                             BACKGROUND4

17            DPPs retained Dr. Singer, the managing director of EconOne Research, to opine that

18

19

20

21

22

23

24

25

26
     4
         The background of this case is set forth more fully in Defendants’ Motion for Summary Judgment.
27   5

28

                                                        2
                 CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                  Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
              Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 9 of 23



 1              .6

 2               Dr. Singer’s

 3                         Specifically, Dr. Singer

 4

 5

 6                                                    .73 In carrying out his “qualitative analysis,” Dr. Singer

 7

 8

 9

10

11

12

13

14

15       .8

16

17

18

19

20

21   6

22
     7
23

24

25

26
     8
27

28

                                                           3
                     CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                      Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
        Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 10 of 23



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21                                              ARGUMENT

22          Dr. Singer’s “qualitative analysis” is not proper expert testimony. Dr. Singer’s “qualitative

23   analysis”—which purports to find that the record evidence in this case indicates anticompetitive

24   conduct—is not only unreliable, but it is not helpful to the trier of fact. Rather than undertaking the

25   work of an economist, Dr. Singer attempts to step into the role of a juror and determine whether the

26   evidence in this case supports a finding that anticompetitive conduct exists. Plaintiffs’ own expert

27   admits that this is not economic testimony. Instead, Dr. Singer’s testimony is a blatant attempt to

28   lend an aura of expertise to a topic the jury should properly consider independently: examination of

                                                       4
                CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                 Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 11 of 23



 1   the record evidence in this case, and applying the law to that evidence. Further, as to his testimony

 2   about the topics that the Department of Justice considers in evaluating anticompetitive conduct, Dr.

 3   Singer does not rely upon reliable sources that reflect internal DOJ policies, and that analysis is not

 4   based on any scientific methodology.

 5   I.      DR. SINGER’S TESTIMONY ON “QUALITATIVE” EVIDENCE IS IMPROPER
             AND SHOULD BE EXCLUDED.
 6
             Dr. Singer employs a “qualitative analysis” that is nowhere to be found in any scholarly text,
 7
     and cannot be replicated by anyone other than Dr. Singer. In particular, Dr. Singer apparently
 8

 9
                                                                                                   Such an
10
     “analysis” will serve only to confuse the jury as Dr. Singer lends his “expertise” to
11
                                                                                          According to Dr.
12
     Singer, he
13

14

15
                                                                      . This analysis is decidedly legal in
16
     nature, rather than economic, and should be firmly in the province of the fact-finder, not expert
17
     testimony.
18
             A.      Dr. Singer’s Evaluation of the Qualitative Evidence Is Not Based Upon Any
19                   Reliable Scientific Methodology And Is Unhelpful to the Trier of Fact.
20           Expert testimony must be useful to a finder of fact by deploying specialized knowledge and

21   skills to aid in the interpretation of evidence. See Diviero v. Uniroyal Goodrich Tire Co., 114 F.3d

22   851, 853 (9th Cir. 1997). In other words, an expert’s opinion must do more than the average juror

23   could (or should) do. See Walker v. Contra Costa Cty., No. 03-cv-3723 (THE), 2006 WL 3371438,

24   at *5 (N.D. Cal. Nov. 21, 2006) (excluding expert testimony when there was “no showing that [the

25   expert’s] opinions flow from specialized expertise beyond the ken of the average juror”); McClellan

26   v. I-Flow Corp., 710 F. Supp. 2d 1092, 1136 (D. Or. 2010) (“It is well established that expert

27   testimony is not helpful if it simply addresses lay matters which the jury is capable of understanding

28   and deciding without the expert’s help.”). Furthermore, an expert witness’s legal conclusions are,

                                                       5
                  CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                   Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
        Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 12 of 23



 1   and should be, properly excluded. See Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d

 2   1051, 1058 & 1060 (9th Cir. 2008). Dr. Singer’s evaluation of the qualitative evidence violates each

 3   of these principles.

 4          Dr. Singer opines that

 5                                                      Dr. Singer

 6

 7

 8                                     According to Dr. Singer,

 9

10                                                              Dr. Singer’s                             is

11   not based on specialized knowledge; the jury could (and should) do this on its own. Dr. Singer’s

12   discussion of the evidence, and his conclusion that

13                           , is thus not proper expert testimony, and will serve only to confuse the jury

14   on the ultimate legal issues of the case. See, e.g., Walker, 2006 WL 3371438, at *5; Nationwide

15   Transp. Fin., 523 F.3d at 1058 (quoting Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d

16   998, 1016 (9th Cir. 2004)) (“[A]n expert witness cannot give an opinion as to her legal conclusion,

17   i.e., an opinion on an ultimate issue of law.”).

18          Dr. Singer’s purported                               demonstrates his misunderstanding of his

19   role as an expert. It is for the jury to determine whether, for example,

20

21

22                                                See, e.g., Mid-State Fertilizer Co. v. Exch. Nat. Bank of

23   Chicago, 877 F.2d 1333, 1340 (7th Cir. 1989) (expert “gave a legal rather than an economic

24   opinion” when “he examined materials produced in discovery and drew inferences from the record,

25   speaking in legal rather than economic terms”); U.S. Info. Sys., Inc. v. Int’l Bhd. of Elec. Workers

26   Local Union No. 3, 313 F. Supp. 2d 213, 239–40 (S.D.N.Y. 2004) (expert may not usurp “the role of

27   the jury in applying that law to the facts before it”); see also George J. Stigler, What Does an

28   Economist Know, 33 J. Legal Educ. 311 (1983) (“A reasonable man, and often even an economist,

                                                        6
                 CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                  Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
        Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 13 of 23



 1   would say that the documents seemed to present a conclusive proof of collusive behavior. The

 2   economist, however, would have no professional basis for reaching such a conclusion: he has no

 3   special skill in reading documents and relating them to actual behavior. In particular his skill in

 4   document interpretation is on average inferior to that of a lawyer.”);

 5

 6

 7

 8

 9                                                                   For this reason alone, Dr. Singer’s

10   “qualitative analysis” as to                                                             is properly

11   excluded. See In re Capacitors Antitrust Litigation, No. 17-md-2801 (JD), 2018 WL 5980139, at

12   *11 (N.D. Cal. Nov. 14, 2018) (noting that an expert’s opinion that “defendants engaged in the

13   alleged conspiracy” is not a topic the Court would likely permit expert testimony about at trial);

14   Nationwide Transp. Fin., 523 F.3d at 1058–60 (explaining that experts cannot “invade[] the province

15   of the trial judge,” and “[u]nder either [Rule 701 or Rule 702], evidence that merely tells the jury

16   what result to reach is not sufficiently helpful to the trier of fact to be admissible” (citations

17   omitted)); see also Aguilar v. Int’l Longshoremen’s Union Local No. 10, 966 F.2d 443, 447 (9th Cir.

18   1992) (no expert opinion admissible on questions of law).

19          Moreover, Dr. Singer’s

20             Dr. Singer’s

21

22

23

24

25

26

27

28

                                                      7
                CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                 Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 14 of 23



                                     .
 1

 2                                   . Instead of offering helpful testimony, Dr. Singer

 3                                                 . See City of Tuscaloosa v. Harcros Chems., 158 F.3d

 4   548, 565 (11th Cir. 1998) (Dr. McClave’s “characterizations of documentary evidence as reflective

 5   of collusion” do not assist the jury); Johns v. Bayer Corp., No. 09-cv-1935, 2013 WL 1498965, at

 6   *28 (S.D. Cal. Apr. 10, 2013) (“[T]o the extent an expert simply rehashes otherwise admissible

 7   evidence about which he has no personal knowledge, such evidence—taken on its own—is

 8   inadmissible.”); In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 541 (S.D.N.Y. 2004) (“Rule

 9   702 ensures that expert witnesses will not testify about lay matters . . . . Examples of expert

10   testimony that courts have excluded on this basis include factual narratives and interpretations of

11   conduct or views as to the motivation of parties.”). This is an analysis that the jury is “fully capable

12   of understanding . . . through the use of its common knowledge and common sense.” In re Apollo

13   Grp. Inc. Sec. Litig., 527 F. Supp. 2d 957, 962 (D. Ariz. 2007) (quoting 3 Jack B. Weinstein &

14   Margaret A. Berger, Weinstein’s Federal Evidence, ¶ 702.03[2][a], at 702–36). The evidence is for

15   the jury to assess,

16

17

18

19

20

21

22            Rather than using an expert as a one-stop shortcut, as is the case with Dr. Singer’s qualitative

23   analysis, Plaintiffs must instead present their version of the facts through percipient witnesses and

24

25   9
         Dr. Singer’s conclusion in favor of Plaintiffs is unsurprising.
26

27

28

                                                         8
                  CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                   Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 15 of 23



 1   documentary evidence, and then allow the jury to exercise their proper role as fact-finder.10 Oracle

 2   Am., Inc. v. Hewlett Packard Enter. Co., No. 16-cv-01393 (JST), 2018 WL 6511146, at *7 (N.D.

 3   Cal. Dec. 11, 2018) (“An expert witness may not usurp the jury’s role in making fact

 4   determinations.”).

 5            B.      Dr. Singer’s
                                           Does Not Comport With Any Accepted Scientific
 6                    Methodology, and Undermines His “Qualitative Analysis.”
              Dr. Singer’s “qualitative analysis” is further undermined by t
 7
                                                               Dr. Singer’s “qualitative analysis” is based
 8
     almost entirely on
 9

10
     Specifically, Dr. Singer
11

12
                                                                                                Dr. Singer
13
     concludes
14

15

16

17

18

19

20
     10
          This is particularly so with respect to Dr. Singer’s testimony on
21

22

23

24

25

26

27                                                      So too here, Dr. Singer’s testimony should be
     excluded because his testimony is “utterly unhelpful” when it is not grounded in the methodologies
28   of economics, and is on a topic which—as explained more fully below—Dr. Singer is not qualified
     to opine.
                                                      9
                   CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                    Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
        Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 16 of 23



 1

 2

 3                     Am. Ad Mgmt., Inc. v. GTE Corp., 92 F.3d 781, 785 (9th Cir. 1996) (price fixing

 4   requires application of a “per se” approach, rather than a “rule of reason” approach); SourceOne

 5   Dental, Inc. v. Patterson Companies, Inc., 310 F. Supp. 3d 346, 359 (E.D.N.Y. 2018) (“[E]vidence

 6   of the mere exchange of information by competitors cannot establish a per se conspiracy.”

 7   (alterations omitted)).

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24                                    See Lust ex rel. Lust v. Merrell Dow Pharm., Inc., 89 F.3d 594, 597

25   (9th Cir. 1996) (finding expert methodology unscientific when not subjected to peer review and

26   expert unable to point to objective source demonstrating methods accepted or espoused in field).

27   The fact is, Dr. Singer’s “qualitative analysis” is neither reliable nor scientific. As one example, an

28   econometric model, such as the one Dr. Singer sets forth in his quantitative analysis, is replicable by

                                                       10
                 CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                  Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
          Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 17 of 23



 1   the Defendants’ economists, even if it is ultimately flawed and should be excluded. See Section II,

 2   infra. Dr. Singer’s qualitative analysis, however, is replicable only by Dr. Singer alone.

 3

 4                                                     Dr. Singer’s “qualitative analysis” simply has no

 5   principled basis. It contains no scientific benchmark. It is decidedly unscientific and should be

 6   excluded from his opinions in this matter.

 7            Finally, Dr. Singer has no “knowledge, skill, experience, training, or education” with respect

 8   to                                           , and so his testimony on that subject must be excluded.

 9   Fed. R. Evid. 702. An expert must be qualified to give the specific testimony he is rendering—

10   expertise in a related field, even a very closely related field, is not sufficient. See, e.g., Harris v.

11   City of Chicago, No. 14-cv-4391, 2017 WL 3193585, at *4 (N.D. Ill. July 27, 2017) (excluding

12   testimony of expert witness whose field was “police practices,” not “false confessions”). Dr. Singer

13   has no such experience—

14                                          Singer Dep. Tr. 80:2–22.11

15

16

17

18

19

20

21

22

23
     11
24        To be sure, courts sometimes qualify witnesses with respect to

25
                                                                                             See, e.g.,
26   Kammerer v. Wyeth, No. 8:04-cv-196, 2011 WL 5237757, at *4 (D. Neb. Nov. 1, 2011) (qualifying
     a “medical doctor and former Medical Officer at the Food and Drug Administration (‘FDA’),” and a
27   “longtime executive of a pharmaceutical company [with] . . . a Ph.D. in pharmacology and
     toxicology . . . to testify with respect to the regulatory approval process and post-marketing
28   surveillance obligations” of the FDA); In re Mirena IUD Prods. Liab. Litig., 169 F. Supp. 3d 396,
     462–63 (S.D.N.Y. 2016) (qualifying former FDA employee as regulatory expert).
                                                         11
                  CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                   Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
           Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 18 of 23



 1            Nor is Dr. Singer’s “qualitative analysis” supported by his economic expertise.

 2

 3

 4

 5

 6              .12

 7            In sum,

 8

 9

10

11

12   II.      DR. SINGER’S “QUANTITATIVE” ECONOMETRIC ANALYSES SHOULD BE
              EXCLUDED AS UNRELIABLE.
13
              Dr. Singer’s econometric model is
14

15

16

17

18

19

20   12
        Moreover, these sources are not reliable bases for determining how the
21                              Newkirk v. ConAgra Foods, Inc., 727 F. Supp. 2d 1006, 1016 (E.D. Wash.
     2010), aff’d, 438 F. App’x 607 (9th Cir. 2011) (explaining that courts can exclude expert opinions if
22   an expert “has not cited to reliable sources for his underlying facts or data”).

23

24

25

26
     13
        Defendants hereby incorporate Defendants’ Motion to Exclude the Expert Testimony of
27   Dr. James T. McClave, filed concurrently herewith.
     14
28      For instance,

                                                      12
                  CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                   Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
        Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 19 of 23



 1

 2

 3

 4
                                             CONCLUSION
 5
            For the reasons stated above, Defendants respectfully request that the Court grant their
 6
     Motion to Exclude Testimony of Dr. Hal J. Singer.
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    13
               CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
       Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 20 of 23



     Dated: June 14, 2019                   Respectfully submitted,
 1

 2
                                            PAUL, WEISS, RIFKIND, WHARTON &
 3                                          GARRISON LLP

 4                                          By:       /s/ Joseph J. Bial
                                            Charles F. Rule (admitted pro hac vice)
 5
                                            rrule@paulweiss.com
 6                                          Joseph J. Bial (admitted pro hac vice)
                                            jbial@paulweiss.com
 7                                          2001 K STREET, NW
                                            WASHINGTON, DC 20006-1047
 8                                          Tel: (202) 223-7300
                                            Fax: (202) 223-7420
 9

10                                          PAUL, WEISS, RIFKIND, WHARTON &
                                            GARRISON LLP
11
                                            Johan E. Tatoy (admitted pro hac vice)
12                                          jtatoy@paulweiss.com
                                            Sara E. Hershman (admitted pro hac vice)
13
                                            shershman@paulweiss.com
14                                          1285 AVENUE OF THE AMERICAS
                                            NEW YORK, NEW YORK 10019-6064
15                                          Tel: (212) 373-3830
                                            Fax: (212) 492-0830
16

17                                          KAUFHOLD GASKIN LLP

18                                          Steven Kaufhold (SBN 157195)
                                            skaufhold@kaufholdgaskin.com
19                                          388 MARKET STREET
                                            SAN FRANCISCO, CA 94111
20                                          Tel: (415) 445-4621
21                                          Fax: (415) 874-1071

22                                          Counsel for Defendants
                                            Nippon Chemi-Con Corporation
23                                          and United Chemi-Con, Inc.
24
                                            By:    /s/ Bruce D. Sokler
25                                          Bruce D. Sokler (admitted pro hac vice)
26                                          Robert G. Kidwell (admitted pro hac vice)
                                            bdsokler@mintz.com
27                                          rgkidwell@mintz.com
                                            MINTZ LEVIN COHN FERRIS GLOVSKY AND
28                                          POPEO P.C.

                                                14
               CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                                Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
     Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 21 of 23



                                        701 Pennsylvania Avenue NW
 1                                      Suite 900
 2                                      Washington, DC 20004
                                        Telephone: (202) 434-7300
 3                                      Facsimile: (202) 434-7400

 4                                      Evan S. Nadel (SBN 213230)
                                        enadel@mintz.com
 5                                      MINTZ LEVIN COHN FERRIS GLOVSKY AND
                                        POPEO P.C.
 6                                      44 Montgomery Street, 36th Floor
                                        San Francisco, California 94104
 7                                      Telephone: 415-432-6000
                                        Facsimile: 415-432-6001
 8
                                        Attorneys for Defendant
 9                                      AVX CORPORATION
10
                                        By:     /s/ Jeffrey L. Kesslerr
11                                      Jeffrey L. Kessler (pro hac vice)
                                        jkessler@winston.com
12                                      A. Paul Victor (pro hac vice)
                                        pvictor@winston.com
13                                      Molly Donovan (pro hac vice)
                                        mmdonovan@winston.com
14
                                        Sofia Arguello (pro hac vice)
15                                      sarguello@winston.com
                                        WINSTON & STRAWN LLP
16                                      200 Park Avenue
                                        New York, NY 10166-4193
17                                      Telephone: (212) 294-6700
                                        Facsimile: (212) 294-4700
18

19                                      Ian L. Papendick (SBN 275648)
                                        ipapendick@winston.com
20                                      Matthew R. DalSanto (SBN 282458)
                                        MDalSanto@winston.com
21                                      WINSTON & STRAWN LLP
22                                      101 California Street
                                        San Francisco, CA 94111
23                                      Telephone: (415) 591-1000
                                        Facsimile: (415) 591-1400
24
                                        Counsel for Defendants
25                                      Panasonic Corporation
26                                      Panasonic Corporation of North America
                                        SANYO Electric Co., Ltd.
27                                      SANYO North America Corporation

28                                      By:        /s/ Bonnie Lau
                                              15
           CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                            Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
     Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 22 of 23



                                        Bonnie Lau
 1                                      bonnie.lau@dentons.com
                                        DENTONS US LLP
 2                                      One Market Plaza
                                        Spear Tower, 24th Floor
 3                                      San Francisco, CA 94105
                                        Telephone:    (415) 882-5083
 4                                      Facsimile:    (415) 267-4198
 5                                      Counsel for Matsuo Electric Co., Ltd.
 6
                                        By:     /s/ Jeffrey A. LeVee
 7                                      Jeffrey A. LeVee (State Bar No. 125863)
                                        jlevee@JonesDay.com
 8                                      Eric P. Enson (State Bar No. 204447)
                                        epenson@JonesDay.com
 9                                      Kelly M. Ozurovich (State Bar No. 307563)
                                        kozurovich@jonesday.com
10                                      JONES DAY
                                        555 South Flower Street
11                                      Fiftieth Floor
                                        Los Angeles, CA 90071.2300
12                                      Telephone:       +1.213.489.3939
                                        Facsimile:       +1.213.243.2539
13
                                        Attorneys for Defendants Holy Stone Enterprise Co.,
14                                      Ltd.; Milestone Global Technology, Inc. (D/B/A
                                        Holystone International); and Vishay Polytech Co., Ltd.
15

16
                                        By:    /s/ Heather S. Nyong’o
17                                      Heather S. Nyong’o (CA SBN 222202)
                                        heather.nyongo@wilmerhale.com
18                                      WILMER CUTLER PICKERING
                                        HALE AND DORR LLP
19                                      1 Front Street, Suite 3500
20                                      San Francisco, CA 94111
                                        Telephone: (628) 235-1000
21                                      Facsimile: (628) 235-1001

22                                      Thomas Mueller (pro hac vice)
                                        thomas.mueller@wilmerhale.com
23
                                        WILMER CUTLER PICKERING
24                                      HALE AND DORR LLP
                                        1875 Pennsylvania Avenue, NW
25                                      Washington, DC 20006
                                        Telephone: (202) 663-6000
26                                      Facsimile: (202) 663-6363
27
                                        Chris Johnstone (CA SBN 242152)
28                                      WILMER CUTLER PICKERING
                                        HALE AND DORR LLP
                                            16
           CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                            Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
     Case 3:17-md-02801-JD Document 654-3 Filed 06/14/19 Page 23 of 23



                                             950 Page Mill Road
 1                                           Palo Alto, CA 94304
                                             chris.johnstone@wilmerhale.com
 2                                           Telephone: (650) 858-6000
                                             Facsimile: (650) 858-6100
 3
                                             Counsel for Defendants Elna Co., Ltd. and Elna
 4                                           America, Inc.
 5
                                             By:           /s/ Jacob R. Sorensen
 6                                           PILLSBURY WINTHROP SHAW PITTMAN LLP
                                             ROXANE A. POLIDORA
 7
                                             JACOB R. SORENSEN
 8                                           LAURA C. HURTADO
                                             Four Embarcadero Center, 22nd Floor
 9                                           San Francisco, CA 94111
10                                           Attorneys for Defendants
                                             KEMET CORPORATION and
11
                                             KEMET ELECTRONICS CORPORATION
12

13

14

15

16

17

18
                    Pursuant to Local Rule 5-1(i)(3), the filer attests that concurrence
19       in the filing of this document has been obtained from each of the above signatories.
20

21

22

23

24

25

26

27

28

                                                 17
           CERTAIN DEFS’ JOINT MOTION TO EXCLUDE TESTIMONY OF DR. HAL J. SINGER
                            Case No. 3:14-cv-03264-JD; 3:17-md-02801-JD
